CM/ECF-GA Northern District Court                                    https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?606766814274721-...
                         Case 1:18-cr-00474-TWT Document 16 Filed 07/27/20 Page 1 of 1




                                                    1:18-cr-00474-TWT
                                                     USA v. Hamilton
                                              Honorable Thomas W. Thrash, Jr.

                                    Minute Sheet for proceedings held In Open Court on 7/27/2020.


              TIME COURT COMMENCED: 10:12 A.M.
                                                                    COURT REPORTER: Diane Peede
              TIME COURT CONCLUDED: 11:17 A.M.
                                                                    USPO: Thomas Hare
              TIME IN COURT: 1:05
                                                                    DEPUTY CLERK: Charlotte Diggs
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):                [1]Eric Ashford Hamilton Present at proceedings
         ATTORNEY(S)                 Samir Kaushal representing USA
         PRESENT:                    Jay Strongwater representing Eric Ashford Hamilton
         PROCEEDING
                                     Revocation of Probation Hearing(Probation Hearing Non-evidentiary);
         CATEGORY:
         REVOCATION                  Defendant ADMITTED to Violations 1-4, 6-7 and did not deny Violation 5 in the
         HEARING INFO.               Second Amended Petition [Doc. 15].
                                     Court found that defendant DID violate conditions of Probation.
                                     Court has deferred ruling for six months.
                                     Probation was CONTINUED.
         MINUTE TEXT:                Counsel and Defendant Eric Hamilton appeared over videoconference for a
                                     revocation hearing. The Court advised Mr. Hamilton of his right to appear in
                                     person and confirmed that Mr. Hamilton agreed to proceed over videoconference.
                                     The Court found that it was in the public interest to conduct the hearing over
                                     videoconference given the risks from the coronavirus pandemic. There were no
                                     objections to the Court's guideline calculations. Mr. Strongwater and Mr. Hamilton
                                     addressed the Court regarding each violation, and Mr. Kaushal asked Mr. Hamilton
                                     additional questions about certain violations in the petition. After hearing closing
                                     from counsel regarding the recommended sanctions for admitted violations, the
                                     Court deferred making a decision for six months and directed the Clerk to set
                                     another hearing for a date six months out.



         HEARING STATUS:             Hearing not concluded. Court adjourned until further ordered.


1 of 1                                                                                                              7/31/2020, 11:43 AM
